8:13-cr-00107-JFB-RCC         Doc # 184      Filed: 02/06/14     Page 1 of 1 - Page ID # 1184




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                  8:13CR107
                                                )
       vs.                                      )                    ORDER
                                                )
                                                )
GARY REIBERT,                                   )
                      Defendant.                )

       This matter is before the court on the motion of defendant Gary Reibert (Reibert) for
release (Filing No. 177). The court considered the motion on January 24, 2014, following
the Rule 17.1 conference. Reibert was represented by John P. Rion via telephone hook-up
and by Matthew J. Barbato in person. The United States was represented by Assistant U.S.
Attorney Michael P. Norris. The court received Exhibit 1, an FBI forensic report of Reibert’s
computer, a letter from Dr. Michael A. Trygstad, D.O., and a memorandum in support of the
motion by Mr. Rion. The court directed Pretrial Services to investigate the proposal. The
Pretrial Services report was filed on February 5, 2014 (Filing No. 183 - Sealed). A copy of
the report was provided to both counsel.
       Apart from the unfortunate illness of Reibert’s mother-in-law, there has been no
change of circumstances to warrant Reibert’s release following Reibert’s detention after his
detention hearing in the Southern District of Ohio and the denial of his appeal by Judge
Bataillon. Neither the Pretrial Services officer in the Southern District of Ohio nor the Pretrial
Services officer in the District of Nebraska recommend release.
       Reibert’s motion for release (Filing No. 177) is denied.


       IT IS SO ORDERED.


       DATED this 6th day of February, 2014.


                                                    BY THE COURT:
                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
